                  Case 24-12480-LSS              Doc 990       Filed 02/14/25         Page 1 of 3



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                               )
    In re:                                                     )        Chapter 11
                                                               )
    FRANCHISE GROUP, INC., et al., 1                           )        Case No. 24-12480 (LSS)
                                                               )
                             Debtors.                          )        (Jointly Administered)
                                                               )

                        MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the admission
pro hac vice of Brian J. Nakhaimousa of Kirkland & Ellis LLP and Kirkland & Ellis International LLP to
represent the above-captioned debtors and debtors in possession in these chapter 11 cases and any related
adversary proceedings.




1
      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746),
      Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition,
      LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe
      Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC
      (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware,
      Ohio 43015.
              Case 24-12480-LSS   Doc 990   Filed 02/14/25    Page 2 of 3



Dated: February 14, 2025               /s/ Allison S. Mielke
Wilmington, Delaware                    YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                        Edmon L. Morton (Del. No. 3856)
                                        Matthew B. Lunn (Del. No. 4119)
                                        Allison S. Mielke (Del. No. 5934)
                                        Shella Borovinskaya (Del. No. 6758)
                                        Rodney Square
                                        1000 North King Street
                                        Wilmington, Delaware 19801
                                        Telephone:      (302) 571-6600
                                        Facsimile:      (302) 571-1253
                                        Email:         emorton@ycst.com
                                                       mlunn@ycst.com
                                                       amielke@ycst.com
                                                       sborovinskaya@ycst.com

                                        Co-Counsel to the Debtors
                                        and Debtors in Possession




                                        2
               Case 24-12480-LSS            Doc 990      Filed 02/14/25       Page 3 of 3



               CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing, and in good standing as a member of the Bar of the State of New York, and am admitted to
practice before the United States District Court for the Southern District of New York, and submit to the
disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course
of this action. I also certify that I am generally familiar with this Court’s Local Rules and with Standing
Order for District Court Fund revised 12/21/23. I further certify that the fee of $50.00 has been paid to the
Clerk of Court for District Court.

Dated: February 14, 2025                                  /s/ Brian J. Nakhaimousa
                                                           Brian J. Nakhaimousa
                                                           KIRKLAND & ELLIS LLP
                                                           KIRKLAND & ELLIS INTERNATIONAL LLP
                                                           601 Lexington Avenue
                                                           New York, New York 10022
                                                           Telephone:      (212) 446-4800
                                                           Facsimile:      (212) 446-4900
                                                           Email: brian.nakhaimousa@kirkland.com

                                                           Proposed Co-Counsel to the Debtors
                                                           and Debtors in Possession




                                     ORDER GRANTING MOTION

        IT IS HEREBY ORDERED counsel's motion for admission pro hac vice is granted.




                                                     3
